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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                         CHARLOTTESVILLE DIVISION


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  BABY DOE, A CITIZEN OF AFGHANISTAN :
  CURRENTLY        RESIDING  IN  NORTH :
  CAROLINA, BY AND THROUGH NEXT :              CIVIL ACTION NO. 3:22-CV-49
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,      :
                                        :
       Plaintiffs,                      :
                                        :
  v.                                    :
                                        :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                               :
                                        :
       Defendants,                      :
                                        :
  and                                   :
                                        :
  UNITED STATES SECRETARY OF STATE      :
  ANTONY BLINKEN AND UNITED STATES      :
  SECRETARY OF DEFENSE GENERAL          :
  LLOYD AUSTIN,                         :
                                        :
       Nominal Defendants.              :
                                        :
  ------------------------------------X

                 PLAINTIFFS’ OPPOSITION TO DEFENDANTS
         JOSHUA AND STEPHANIE MAST’S MOTION TO STAY DISCOVERY
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                                          INTRODUCTION

         It is a little late in the day for Defendants Joshua and Stephanie Mast (“J&S Mast”) to be

  seeking a stay of discovery. J&S Mast filed their motion to dismiss the Amended Complaint on

  November 14, 2022. See ECF No. 85. Plaintiffs served their first requests for documents on

  December 22, 2022. See ECF No. 230-1. If there were valid grounds to stay discovery until that

  motion was resolved—and there are not—J&S Mast should have filed that motion many months

  ago. Instead, they engaged in a months-long meet and confer process with Plaintiffs over their

  failure to produce documents, suggesting from time to time that they might seek a stay of

  discovery but not pulling that trigger until just two weeks ago after Plaintiffs filed a motion to

  compel.

         Strangely, J&S Mast joined with all of the parties on May 19, 2023, in asking the Court

  to amend the scheduling order and to bump the trial from early October to early February 2024.

  See ECF No. 220. Nary a word may be found in that filing suggesting that J&S Mast were just

  weeks later going to ask the Court to insulate them from participating in discovery. It is now

  crystal clear, however, that J&S Mast hope that this case can be tried before they have to produce

  a single document. The Court should not reward their rope-a-dope strategy.

         Even if the Court were to ignore that tactical gambit, the arguments J&S Mast offer in

  support of their motion wither under minimal scrutiny.

                                             ARGUMENT

         First, J&S Mast’s motion rests on the mistaken assertion that “[t]he outcome of the

  parallel proceedings in the Fluvanna County Circuit Court will be dispositive on many if not all

  of the issues in this litigation, and in any event, will substantially shape any remaining issues to

  be litigated here.” J&S Mast Br. (ECF No. 238) at 1. This is reminiscent of the argument they



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  made in their motion to dismiss Plaintiffs’ Amended Complaint. But as Plaintiffs explained then,

  see Pls.’ Opp. to Defs.’ Mots. to Dismiss (ECF No. 113) at 5-8, this simply is not the case. Not a

  single one of Plaintiffs’ claims rests on the ruling that J&S Mast’s adoption order was void—a

  ruling that the circuit court already has entered. See Order Granting Summ. J., A.A. and F.A. v.

  J.M. and S.M., CL22000186-00 (Fluvanna Cir. Ct. May 3, 2023) (filed at ECF No. 211).

         While the circuit court declared the adoption order void in part because of the extrinsic

  fraud that was visited on that court, id., Plaintiffs’ fraud claim here relies on Defendants’ efforts

  to defraud Plaintiffs, not the circuit court. See, e.g., Am. Compl. (ECF No. 68) at ¶¶ 162, 163,

  165, 167, 173, 174, 175. Plaintiffs’ claims for intentional infliction of emotional distress and

  false imprisonment also do not rely on any rulings in the state court action—either past or future.

  See, e.g., id. at ¶ 190 (“Since 2019, the conduct of Joshua and Stephanie Mast has shown a

  consistent pattern of reckless disregard for the very real possibility of causing extreme emotional

  distress to John and Jane Doe. . . . It is implausible that someone would be unaware of the

  extreme trauma that would be inflicted on parents when their child is ripped from their arms by

  someone who had for months been claiming that all he wanted was to help them.”); id. at ¶ 198

  (“Joshua Mast physically removed Baby Doe from the custody of her lawful guardians without

  their permission or consent, restricting her movement and confining her to the care of himself

  and Stephanie Mast”); see also id. at ¶¶ 192, 193. A similar analysis applies to the conspiracy

  count, which rests at least in part on the fraud count. See id. at ¶¶ 180-188.

         And as to the Does’ claim for tortious interference with parental rights, John and Jane

  Doe allege that they have parental or custodial rights today to Baby Doe by virtue of the

  decisions of the Afghan government while Baby Doe was in Afghanistan and by virtue of the

  United States government’s recognition of those rights. See, e.g., id. at ¶¶ 5, 10, 74, 153. It is



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  only through Defendants’ actions that they were deprived of those rights once they arrived in the

  United States. “[B]ut for” Defendants’ tortious interference, the Does “would be able to exercise

  some measure of control over [their] child’s care, rearing, safety, well-being, etc.” Wyatt v.

  McDermott, 283 Va. 685, 698 (2012) (quoting Kessel v. Leavitt, 204 W. Va. 95 n. 44 (1998)).

         In the same vein, J&S Mast argue that “there is a significant risk this Court would issue a

  judgment contrary to those in the Virginia courts on an issue of domestic relations, a subject that

  wholly ‘belongs to the laws of the States and not to the laws of the United States.’” J&S Mast Br.

  at 3 (citation omitted). Again, this is an argument that J&S Mast made in support of their motion

  to dismiss. The argument lacked merit then, see Pls.’ Opp. to Defs.’ Mots. to Dismiss (ECF No.

  113) at 3-20, and continues to lack merit now. Worse, it ignores the Supreme Court’s recent

  reminder that “the Constitution does not erect a firewall around family law.” Haaland v.

  Brackeen, 143 S. Ct. 1609, 1630 (2023).

         Second, J&S Mast argue that discovery should be stayed because “Plaintiffs have already

  received broad discovery in the Circuit Court action” and “[a]dditional discovery in this Court is

  therefore unnecessary . . . .” J&S Mast Br. at 1. This is the same argument they made in

  opposition to Plaintiffs’ motion to compel. As Plaintiffs explained in opposition to that motion,

  J&S Mast’s production in the state court litigation does not satisfy their discovery obligations

  here, where Plaintiffs propounded requests for production seeking different information than was

  sought in the state court litigation. See Pls.’ Reply in Support of Mot. to Compel (ECF No. 245)

  at 2-4. Yet, more than six months after being served with requests for production, J&S Mast have

  not produced a single document in this case.

         Moreover, despite arguing on the one hand that Plaintiffs’ discovery here is “duplicative”

  of that in the state court case, J&S Mast Br. at 4, they argue on the other hand that Plaintiffs are



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  “using this litigation to seek more discovery for the Circuit Court proceeding.” Id. (emphasis

  added). The two assertions cannot be reconciled. Regardless, J&S Mast fail to identify what

  discovery Plaintiffs purportedly seek here for the purpose of using it in the circuit court. And,

  more importantly, the circuit court already has issued an order recognizing J&S Mast’s adoption

  order as void—an order now being reviewed by the Court of Appeals of Virginia.

           Third, J&S Mast argue that a stay of discovery would be “brief,” purportedly because the

  Virginia state court appeals will proceed quickly. J&S Mast at 4, 5. This rosy prediction cannot

  be reconciled with the glacial pace of the various appeals now pending. Presently on appeal at

  the Court of Appeals of Virginia are two petitions for certified interlocutory appeal and three

  notices of appeal. The Court of Appeals has yet to determine how it will proceed, has not yet set

  a briefing schedule, and has not expedited the appeals.1 Further, once an appeal is fully briefed in

  the Court of Appeals, additional time will pass before the court issues its decision.2 And once it

  does so, it is nearly certain that one of the parties will pursue a rehearing en banc, to be followed

  by an appeal to the Supreme Court of Virginia—and then perhaps to the United States Supreme

  Court.

           Moreover, J&S Mast appear to be pursuing a strategy of delay in the Virginia case. The

  Fluvanna Circuit Court’s May 3, 2023 summary judgment decision is the focus of the Virginia

  appeals. In that decision, the circuit court declared the final order of adoption void ab initio due

  to (a) extrinsic fraud on the court and (b) violations of John and Jane Doe’s due process rights. It

  also reconsidered and reaffirmed its prior decision to pierce a six-month statute of limitations.


           1
           The Supreme Court of Virginia ordered the Court of Appeals to consolidate the appeals
  on June 2, 2023, but the Court of Appeals has not yet done so.
           2
             A rough estimate based on prior decisions in Region 2 of the Court of Appeals indicate
  that it takes an average of approximately 11 months for that court to reach a final decision in a
  civil case.

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  And it reopened the adoption proceeding J&S Mast initiated while Baby Doe was still in

  Afghanistan (an error John and Jane Doe are appealing). Later, the circuit court protectively

  certified its May 3 order for interlocutory appeal if it is construed to be a non-final order.3

  Rather than seek review of the May 3 order in its entirety, J&S Mast filed a petition for

  interlocutory appeal that assigned error only to the statute of limitations decision and filed two

  notices of appeal they characterized as protective should the Court of Appeals conclude a final

  judgment was entered. In other words, J&S Mast appear to contemplate more proceedings in

  Virginia circuit court and additional appeals when they inevitably lose on the statute of

  limitations question. Even if J&S Mast prevail on the statute of limitations issue on appeal, that

  decision cannot obligate this court to treat a state court order that is void ab initio as valid for

  purposes of this case simply because the Does were not allowed to challenge it under Virginia

  procedural rules.

          Finally, J&S Mast make clear that they propose returning to this Court only “once Baby

  Doe’s custody has been determined.” J&S Mast Br. at 5. But they fail to explain that the

  Fluvanna Circuit Court order, if upheld, leaves the ultimate determination of which party obtains

  final, permanent custody of the child to an entirely separate, newly re-opened proceeding.4 At

  the urging of J&S Mast, and over Plaintiffs’ objections, the circuit court denied John and Jane

  Does’ motion to intervene (without prejudice) and stayed that proceeding while the appellate


          3
            The parties have contested the proper characterization of the May 3 order as final or
  non-final in the Virginia courts of appeal, and the circuit court gave mixed messages as to its
  intentions. The bottom line remains, however, that J&S Mast have taken the position in Virginia
  courts that the May 3 order is interlocutory, and they appear to be trying to keep the door open
  for future appeals if they lose the pending appeals.
          4
            The validity of the Fluvanna Circuit Court’s determination that its temporary custody
  orders in the underlying adoption “remain valid” and permit Baby Doe to remain in the hands of
  J&S Mast, and that subsequent adoption proceedings may continue, is contested by Plaintiffs and
  is one of the issues to be consolidated on appeal before the Court of Appeals of Virginia.

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  process continues. In short, it appears additional litigation in a different case regarding ultimate

  custody of the child will not begin until after the pending appeals in the Court of Appeals of

  Virginia are exhausted. Yet, J&S Mast do not explain why those proceedings must resolve before

  this case—which asserts different claims and involves different parties and does not rely on a

  ruling by a state court—may proceed..

         Fourth, none of the cases that J&S Mast cite support their position. The primary case on

  which they rely, Volvo Group North America, LLC v. Truck Enterprises, Inc., involved two

  federal court litigations between the same parties. 2018 WL 3599198, at *1 (W.D. Va. May 9,

  2018). The first case was on appeal to the Fourth Circuit, while the parties stipulated to a stay of

  various deadlines in the second matter. Id. Additionally, the Fourth Circuit heard argument in the

  first case on the same day the court issued the stay in the second case, meaning that any stay

  would likely be brief. Id. Here, not only have the parties not stipulated to a stay of any deadlines,

  but any stay is likely to be lengthy, as noted above.

         The other cases cited by J&S Mast similarly offer them no comfort. In Harris v. Rainey,

  the court stayed the case pending a resolution of an appeal in another matter at the Fourth

  Circuit, which was being handled on an expedited basis and raised “identical” issues. 2014 WL

  1292803, at *1 & n. 2 (W.D. Va. Mar. 31, 2014). Here, the Court of Appeals of Virginia has not

  expedited the pending appeals of the state court litigation and, as discussed above, the issues

  there and here are not identical. In addition, Robinson v. DePuy Orthopaedics, Inc., is inapposite,

  as it involved a stay pending the case’s likely transfer to an MDL. 2012 WL 831650, at *1 (W.D.

  Va. Mar. 6, 2012). And, in the remaining cases cited by J&S Mast, the courts stayed litigation

  pending rulings in other cases that would be dispositive of key issues in the stayed litigations.

  See Hickey v. Baxter, 833 F.2d 1005, 1987 WL 39020, at *1 (4th Cir. 1987); Dunning v. Varnau,



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  2018 WL 1473576, at *2 (S.D. Ohio Mar. 26, 2018); Kawecki ex rel. Marlowe v. Cnty. of

  Macomb, 367 F. Supp. 2d 1137, 1148 (E.D. Mich. 2005). As discussed above, the Court of

  Appeals of Virginia is not addressing any issue that is dispositive of any claim in this case.

         Finally, a stay will prejudice Plaintiffs. J&S Mast abducted the Does’ child almost two

  years ago after tricking them into traveling to the United States. Plaintiffs have been deprived

  since then of any contact with their daughter, and J&S Mast continue to reject any requests for

  visitation between John and Jane Doe and the child they raised for 18 months in Afghanistan.

  John and Jane Doe taught Baby Doe her first language, took her to medical visits, shared their

  joy with her at family celebrations, planned for her future education, and dreamed of the life they

  would live together. J&S Mast destroyed that. J&S Mast (and the other defendants) must be held

  to account for their tortious conduct. Plaintiffs deserve their day in court. Moreover, “[w]here

  there is a fair possibility that a stay ‘will work damage’ to the party opposing it, the party seeking

  a stay must make out ‘a clear case of hardship or inequity in being required to go forward.”

  Volvo Group, 2018 WL 3599198, at *2 (quoting Landis v. N. Am. Co., 299 U.S. 248, 254

  (1936)). J&S Mast have not made any case of hardship or inequity, let alone a “clear case.”

                                            CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully ask the Court to deny J&S Mast’s motion

  to stay discovery.


  July 11, 2023                          Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on the 11th day of July 2023, I filed the foregoing with the Court’s

   electronic case-filing system, thereby serving all counsel of record in this case.



                                  By:     /s/ Maya Eckstein
                                          Maya M. Eckstein (VSB No. 41413)




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